                     Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page1 of 15


CA02db Intake

From:                NYSD_ECF_Pool@nysd.uscourts.gov
Sent:                Wednesday, June 15, 2022 9:06 AM
To:                  NYSD CourtMail
Subject:             Activity in Case 1:18-cv-08865-LJL United States Securities and Exchange Commission v. Musk
                     Appeal Record Sent to USCA - Electronic File


This is an automatic e‐mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e‐mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                              Southern District of New York

Notice of Electronic Filing

The following transaction was entered on 6/15/2022 at 9:06 AM EDT and filed on 6/15/2022
Case Name:          United States Securities and Exchange Commission v. Musk
Case Number:        1:18‐cv‐08865‐LJL
Filer:
WARNING: CASE CLOSED on 10/16/2018
Document Number: No document attached

Docket Text:
Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic
Files for [86] Notice of Appeal filed by Elon Musk were transmitted to the U.S. Court of
Appeals. (tp)


1:18‐cv‐08865‐LJL Notice has been electronically mailed to:

William Anthony Burck     williamburck@quinnemanuel.com, william‐burck‐9397@ecf.pacerpro.com

Jina Lee Choi choij@sec.gov, austinh@sec.gov, buchholzs@sec.gov, crumptonc@sec.gov, johnstonj@sec.gov,
langitg@sec.gov, newellw@sec.gov, peasee@sec.gov, roeselerk@sec.gov, schneidere@sec.gov, smythb@sec.gov,
stearnsj@sec.gov

Marshall Alan Camp     ddelgrande@hueston.com, mcamp@hueston.com

Adriene Mixon     mixona@sec.gov

John Charles Hueston     jhueston@hueston.com, docketing@hueston.com, lhiles@hueston.com


                                                             1
                       Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page2 of 15

Melissa Jane Armstrong    armstrongme@sec.gov

Alison Lynn Plessman     aplessman@hueston.com

Alex Spiro   alexspiro@quinnemanuel.com

Cheryl L. Crumpton     crumptonc@sec.gov

Edward Barrett Atwood     atwoode@sec.gov, RoeselerK@sec.gov, StearnsJ@SEC.GOV, johnstonj@sec.gov

Steven D Buchholz buchholzs@sec.gov, Peasee@sec.gov, austinh@sec.gov, lamarcas@sec.gov, roeselerk@sec.gov,
stearnsj@sec.gov, winklerm@sec.gov, zhoud@sec.gov

1:18‐cv‐08865‐LJL Notice has been delivered by other means to:

Moez M. Kaba
Hueston Hennigan LLP
523 West 6th Street, Suite 400
Los Angeles, CA 90014




                                                         2
            Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page3 of 15

                                                                              CLOSED,APPEAL,ECF
                                 U.S. District Court
                    Southern District of New York (Foley Square)
                  CIVIL DOCKET FOR CASE #: 1:18−cv−08865−LJL

United States Securities and Exchange Commission v. Musk    Date Filed: 09/27/2018
Assigned to: Judge Lewis J. Liman                           Date Terminated: 10/16/2018
Related Case: 1:18−cv−08947−LJL                             Jury Demand: Plaintiff
Cause: 15:78m(a) Securities Exchange Act                    Nature of Suit: 850
                                                            Securities/Commodities
                                                            Jurisdiction: U.S. Government Plaintiff
Plaintiff
United States Securities and Exchange         represented by Cheryl L. Crumpton
Commission                                                   Securities and Exchange Commission (DC)
                                                             100 F Street, N.E.
                                                             Washington, DC 20549
                                                             (202)−551−4459
                                                             Fax: 202−772−9245
                                                             Email: crumptonc@sec.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Adriene Mixon
                                                            United States Securities and Exhange
                                                            Commission
                                                            444 South Flower Street
                                                            Ste 900
                                                            Los Angeles, CA 90071
                                                            202−551−4463
                                                            Email: mixona@sec.gov
                                                            ATTORNEY TO BE NOTICED

                                                            Edward Barrett Atwood
                                                            Securities and Exchange Commission (
                                                            San Francisco )
                                                            44 Montgomery Street, 26th Floor
                                                            San Francisco, CA 94104
                                                            (415)−705−2467
                                                            Email: atwoode@sec.gov
                                                            ATTORNEY TO BE NOTICED

                                                            Melissa Jane Armstrong
                                                            Securities and Exchange Commission (DC)
                                                            100 F Street, N.E.
                                                            Washington, DC 20549
                                                            202−551−4724
                                                            Email: armstrongme@sec.gov
                                                            ATTORNEY TO BE NOTICED

                                                            Steven D Buchholz
                                                            U.S. Securities and Exchange Commission
                                                            44 Montgomery Street
                                                            Suite 2800
                                                            San Francisco, CA 94104
                                                            415−705−2500
                                                            Email: buchholzs@sec.gov
                                                            ATTORNEY TO BE NOTICED

                                                            Jina Lee Choi
                                                            Securities and Exchange Commission
                                                            44 Montgomery Street, Suite 2800
                                                            San Francisco, CA 94104
            Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page4 of 15

                                                       (415) 705−2372
                                                       Email: choij@sec.gov
                                                       ATTORNEY TO BE NOTICED


V.
Defendant
Elon Musk                                represented by Alex Spiro
                                                        Quinn Emanuel Urquhart & Sullivan
                                                        (NYC)
                                                        51 Madison Avenue
                                                        New York, NY 10010
                                                        212−849−7000
                                                        Fax: 212−849−7100
                                                        Email: alexspiro@quinnemanuel.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Alison Lynn Plessman
                                                       Irell & Manella LLP
                                                       1800 Avenue of The Stars, Suite 900
                                                       Los Angeles, CA 90067
                                                       (310)−203−7563
                                                       Fax: (310)−203−7199
                                                       Email: aplessman@irell.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Dane Hal Butswinkas
                                                       Williams & Connolly LLP
                                                       725 Twelfth Street, NW
                                                       Washington, DC 20005
                                                       (202) 434−5110
                                                       Fax: (202) 434−5029
                                                       Email: dbutswinkas@wc.com
                                                       TERMINATED: 03/01/2019
                                                       LEAD ATTORNEY

                                                       John Charles Hueston
                                                       Irell & Manella LLP
                                                       840 Newport Center Drive, Suite 400
                                                       Newport Beach, CA 92660
                                                       (949)−760−0991
                                                       Fax: (949)−760−5289
                                                       Email: jhueston@hueston.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Marshall Alan Camp
                                                       Hueston Hennigan LLP
                                                       523 West 6th Street, Suite 400
                                                       Los Angeles, CA 90014
                                                       213−788−4541
                                                       Email: mcamp@irell.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Moez M. Kaba
                                                       Hueston Hennigan LLP
                                                       523 West 6th Street, Suite 400
                                                       Los Angeles, CA 90014
                                                       (213) 788−4340
         Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page5 of 15

                                                              Fax: (888) 775−0898
                                                              Email: mkaba@hueston.com (Inactive)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              William Anthony Burck
                                                              Quinn Emmanuel Urquhart & Sullivan,
                                                              LLP
                                                              777 6th Street NW 11th floor
                                                              Washington, DC 20005
                                                              202−538−8000
                                                              Fax: 202−538−8100
                                                              Email: williamburck@quinnemanuel.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Amanda M. MacDonald
                                                              Williams & Connolly LLP
                                                              725 Twelfth Street, Nw
                                                              Washington, DC 20005
                                                              (202) 434−5416
                                                              Fax: (202) 434−5029
                                                              Email: amacdonald@wc.com
                                                              TERMINATED: 03/01/2019

                                                              Steven M.. Farina
                                                              Williams & Connolly
                                                              725 12th Street
                                                              NW
                                                              Washington, DC 20005
                                                              (202) 434−5000
                                                              Fax: (202)−434−5029
                                                              Email: sfarina@wc.com
                                                              TERMINATED: 03/01/2019


Date Filed   #   Docket Text
09/27/2018    1 COMPLAINT against Elon Musk. Document filed by United States Securities and
                Exchange Commission.(Choi, Jina) (Entered: 09/27/2018)
09/27/2018    2 CIVIL COVER SHEET filed. (Choi, Jina) (Entered: 09/27/2018)
09/28/2018       ***NOTICE TO ATTORNEY REGARDING CIVIL. CASE OPENING
                 STATISTICAL ERROR CORRECTION: Notice to attorney Jina Choi. The
                 following case opening statistical information was erroneously selected/entered:
                 Cause of Action code 12:12; Jury Demand code n (None); County code New
                 York; Fee Status code pd (paid);. The following correction(s) have been made to
                 your case entry: the Cause of Action code has been modified to 15:0078; the Jury
                 Demand code has been modified to p (Plaintiff); the County code has been
                 modified to XX Out of State; the Fee Status code has been modified to wv
                 (waived). (laq) (Entered: 09/28/2018)
09/28/2018       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is
                 assigned to Judge Alison J. Nathan. Please download and review the Individual
                 Practices of the assigned District Judge, located at
                 http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing
                 courtesy copies to judges where their Individual Practices require such. Please
                 download and review the ECF Rules and Instructions, located at
                 http://nysd.uscourts.gov/ecf_filing.php. (laq) (Entered: 09/28/2018)
09/28/2018       Magistrate Judge Gabriel W. Gorenstein is so designated. Pursuant to 28 U.S.C.
                 Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent
                 to proceed before a United States Magistrate Judge. Parties who wish to consent may
                 access the necessary form at the following link: http://nysd.uscourts.gov/forms.php.
                 (laq) (Entered: 09/28/2018)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page6 of 15

09/28/2018       Case Designated ECF. (laq) (Entered: 09/28/2018)
09/28/2018    3 MOTION for Cheryl L. Crumpton to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Affidavit of Cheryl L.
                Crumpton in Support of Motion to Appear Pro Hac Vice, # 2 Exhibit 1− DC
                Certificate of Good Standing, # 3 Exhibit 2− Texas Certificate of Good Standing, # 4
                Text of Proposed Order to Appear Pro Hac Vice)(Crumpton, Cheryl) (Entered:
                09/28/2018)
09/28/2018       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 3 MOTION for Cheryl L. Crumpton to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (bcu) (Entered: 09/28/2018)
09/28/2018    4 NOTICE OF INITIAL PRETRIAL CONFERENCE: Initial Conference set for
                2/1/2019 at 04:00 PM in Courtroom 906, 40 Centre Street, New York, NY 10007
                before Judge Alison J. Nathan. (As further set forth in this Order.) Parties ordered to
                submit via ECF proposed case management plan and joint letter seven days before
                conference. (Signed by Judge Alison J. Nathan on 9/28/2018) (cf) (Entered:
                09/28/2018)
09/28/2018    5 MOTION for E. Barrett Atwood to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Affidavit of E. Barrett
                Atwood, # 2 Exhibit Good Standing Certificate (CA), # 3 Exhibit Good Standing
                Certificate (DC), # 4 Text of Proposed Order Granting Pro Hac Vice of E. Barrett
                Atwood)(Atwood, Edward) (Entered: 09/28/2018)
09/28/2018       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 5 MOTION for E. Barrett Atwood to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (jc) (Entered: 09/28/2018)
09/29/2018    6 CONSENT MOTION for Judgment According to the Parties' Settlement. Document
                filed by United States Securities and Exchange Commission. (Attachments: # 1
                Exhibit 1− Consent to Entry of Judgment, # 2 Exhibit 2− Proposed Final
                Judgment)(Choi, Jina) (Entered: 09/29/2018)
10/02/2018    7 ORDER granting 3 Motion for Cheryl L. Crumpton to Appear Pro Hac Vice
                (HEREBY ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison)
                (Entered: 10/02/2018)
10/02/2018    8 ORDER granting 5 Motion for E. Barrett Atwood to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison) (Entered:
                10/02/2018)
10/04/2018    9 ORDER: No later than October 11, 2018, the parties shall file a joint letter not to
                exceed ten pages double−spaced, explaining why the Court should approve the
                proposed consent judgment. (As further set forth in this Order.) (Signed by Judge
                Alison J. Nathan on 10/4/2018) (cf) (Entered: 10/04/2018)
10/05/2018   10 NOTICE OF APPEARANCE by Dane Hal Butswinkas on behalf of Elon Musk.
                (Butswinkas, Dane) (Entered: 10/05/2018)
10/05/2018   11 MOTION for Steven M. Farina to Appear Pro Hac Vice on behalf of Elon Musk. Filing
                fee $ 200.00, receipt number 0208−15667351. Motion and supporting papers to be
                reviewed by Clerk's Office staff. Document filed by Elon Musk. (Attachments: # 1
                Affidavit Of Steven M. Farina In Support Of Motion To Appear Pro Hac Vice, # 2
                Exhibit DC Certificate Of Good Standing, # 3 Text of Proposed Order To Appear Pro
                Hac Vice)(Farina, Steven) (Entered: 10/05/2018)
10/06/2018   12 MOTION for Amanda M. MacDonald to Appear Pro Hac Vice on behalf of Elon
                Musk. Motion and supporting papers to be reviewed by Clerk's Office staff.
                Document filed by Elon Musk. (Attachments: # 1 Affidavit Of Amanda M.
                MacDonald In Support Of Motion To Appear Pro Hac Vice, # 2 Exhibit 1 − DC
                Certificate of Good Standing, # 3 Exhibit 2 − Illinois Certificate of Good Standing, # 4
                Text of Proposed Order To Appear Pro Hac Vice)(MacDonald, Amanda) (Entered:
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page7 of 15

                 10/06/2018)
10/06/2018       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 11 MOTION for Steven M. Farina to Appear Pro Hac Vice on behalf of Elon
                 Musk. Filing fee $ 200.00, receipt number 0208−15667351. Motion and supporting
                 papers to be reviewed by Clerk's Office staff.. The document has been reviewed
                 and there are no deficiencies. (bcu) (Entered: 10/06/2018)
10/06/2018       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 12 MOTION for Amanda M. MacDonald to Appear Pro Hac Vice on behalf
                 of Elon Musk. Motion and supporting papers to be reviewed by Clerk's Office
                 staff.. The document has been reviewed and there are no deficiencies. (bcu)
                 (Entered: 10/06/2018)
10/11/2018   13 JOINT BRIEF re: 6 CONSENT MOTION for Judgment According to the Parties'
                Settlement. . Document filed by United States Securities and Exchange
                Commission.(Crumpton, Cheryl) (Entered: 10/11/2018)
10/16/2018   14 FINAL JUDGMENT AS TO DEFENDANT ELON MUSK: The Securities and
                Exchange Commission having filed a Complaint and Defendant Elon Musk having
                entered a general appearance; consented to the Court's jurisdiction over Defendant in
                this matter only and the subject matter of this action; consented to entry of this Final
                Judgment without admitting or denying the allegations of the Complaint (except as to
                jurisdiction and except as otherwise provided herein in paragraph III); waived findings
                of fact and conclusions of law; and waived any right to appeal from this Final
                Judgment: IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
                Defendant is permanently restrained and enjoined from violating, directly or indirectly,
                Section 10(b) of the Securities Exchange Act of 1934 (the "Exchange Act") [15 US.C.
                § 78j(b)] and Rule 10b−5 promulgated thereunder [17 C.F.R. § 240.10b−5], by using
                any means or instrumentality of interstate commerce, or of the mails, or of any facility
                of any national securities exchange, in connection with the purchase or sale of any
                security; as set forth herein. IT IS FURTHER ORDERED, ADJUDGED, AND
                DECREED that Defendant shall pay a civil penalty in the amount of $20,000,000 to
                the Securities and Exchange Commission pursuant to Section 21(d)(3) of the Exchange
                Act [15 U.S. C. § 78u(d)(3)]. Defendant shall make this payment within 14 days after
                entry of this Final Judgment. IT IS FURTHER ORDERED, ADJUDGED, AND
                DECREED that this Court shall retain jurisdiction of this matter for the purposes of
                enforcing the terms of this Final Judgment. (Signed by Judge Alison J. Nathan on
                10/16/2018) (mro) (Entered: 10/16/2018)
02/05/2019   15 CONSENT MOTION to Consolidate Cases 1:18−cv−8947 for Distribution Purposes.
                Document filed by United States Securities and Exchange Commission. (Attachments:
                # 1 Text of Proposed Order Proposed Order)(Atwood, Edward) (Entered: 02/05/2019)
02/05/2019   16 MEMORANDUM OF LAW in Support re: 15 CONSENT MOTION to Consolidate
                Cases 1:18−cv−8947 for Distribution Purposes. . Document filed by United States
                Securities and Exchange Commission. (Atwood, Edward) (Entered: 02/05/2019)
02/06/2019   17 ORDER TO CONSOLIDATE ACTIONS FOR DISTRIBUTION PURPOSES
                granting 15 Letter Motion to Consolidate Cases. IT IS HEREBY ORDERED: 1.
                Pursuant to Final Judgments entered in these two Securities and Exchange
                Commission ("SEC") enforcement actions, Defendants Elon Musk and Tesla, Inc.
                have paid penalties in the total amount of $40,000,000.00. These funds were paid into
                an interest− bearing account at the Bureau of Fiscal Services of the U.S. Treasury
                Department (the "Distribution Funds"). Each final judgment provides, in part, that the
                Distribution Funds may be distributed pursuant to the Fair Fund provisions of the
                Section 308(a) of the Sarbanes−Oxley Act of 2002, as amended by the Dodd− Frank
                Act of 2010, 15 U.S.C. § 7246(a). 2. The Court hereby orders that the
                above−captioned actions are consolidated for the purposes of distribution of funds to
                harmed investors. (Signed by Judge Alison J. Nathan on 2/6/2019) (anc) (Entered:
                02/06/2019)
02/25/2019   18 MOTION for Order to Show Cause Why Defendant Elon Musk Should Not Be Held in
                Contempt and Memorandum of Law in Support. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Text of Proposed Order)(Crumpton, Cheryl)
                (Entered: 02/25/2019)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page8 of 15

02/26/2019   19 ORDER REQUIRING DEFENDANT ELON TO SHOW CAUSE WHY HE
                SHOULD NOT BE HELD IN CONTEMPT FOR VIOLATING THE COURT'S
                FINAL JUDGMENT: NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND
                DECREED that Defendant Elon Musk shall submit to this Court by March 11, 2019,
                briefing to show cause, if any, why he should not be found in contempt of the Court's
                Final Judgment. SO ORDERED. (Show Cause Response due by 3/11/2019.)Motions
                terminated: 18 MOTION for Order to Show Cause Why Defendant Elon Musk Should
                Not Be Held in Contempt and Memorandum of Law in Support. filed by United States
                Securities and Exchange Commission. (Signed by Judge Alison J. Nathan on
                2/26/2019) (kv) (Entered: 02/26/2019)
02/28/2019   20 NOTICE of Substitution of Attorney. Old Attorney: Dane H. Butswinkas, Steven M.
                Farina, and Amanda M. MacDonald, New Attorney: John C. Hueston, Marshall A.
                Camp, Alison L. Plessman, and Moez M. Kaba, Address: Hueston Hennigan LLP, 523
                W. 6th Street, Suite 400, Los Angeles, California, USA 90014, (213) 788−4340.
                Document filed by Elon Musk. (Attachments: # 1 Affidavit Declaration of Steven M.
                Farina)(Farina, Steven) (Entered: 02/28/2019)
03/01/2019   21 STIPULATION AND NOTICE OF SUBSTITUTION OF COUNSEL: Pursuant to
                Rule 1.4 of the Local Rules of the United States District Courts for the Southern and
                Eastern Districts of New York, the undersigned hereby stipulate and consent to the
                substitution of the law firm Hueston Hennigan LLP, by and through its attorneys John
                C. Hueston, Marshall A. Camp, Alison L. Plessman, and Moez M. Kaba as attorneys
                of record for Defendant Elon Musk in the above−captioned action in place and instead
                of the law firm ofWilliams & Connolly LLP, and its attorneys Dane H. Butswinkas,
                Steven M. Farina, and Amanda M. MacDonald. The undersigned request this Court to
                so−order the substitution, and as further set forth in this Order. SO ORDERED.
                Attorney Amanda M. MacDonald, Dane Hal Butswinkas and Steven M. Farina
                terminated. (Signed by Judge Alison J. Nathan on 3/1/2019) (jca) (Entered:
                03/01/2019)
03/01/2019       Attorney John Charles Hueston, Marshall Alan Camp, Alison Lynn Plessman, Moez
                 M. Kaba for Elon Musk added. (Signed by Judge Alison J. Nathan on 3/1/2019) (jca)
                 (Entered: 03/01/2019)
03/05/2019   22 NOTICE OF APPEARANCE by Moez M. Kaba on behalf of Elon Musk. (Kaba,
                Moez) (Entered: 03/05/2019)
03/06/2019   23 MOTION for Alison Plessman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                number ANYSDC−16453275. Motion and supporting papers to be reviewed by
                Clerk's Office staff. Document filed by Elon Musk. (Attachments: # 1 Text of
                Proposed Order)(Plessman, Alison) (Entered: 03/06/2019)
03/07/2019       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 23 MOTION for Alison Plessman to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number ANYSDC−16453275. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (wb) (Entered: 03/07/2019)
03/07/2019   24 ORDER granting 23 Motion for Alison Plessman to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison)
                Transmission to Attorney Services/Help Desk. (Entered: 03/07/2019)
03/07/2019   25 MOTION for John Charles Hueston to Appear Pro Hac Vice . Filing fee $ 200.00,
                receipt number ANYSDC−16456937. Motion and supporting papers to be reviewed
                by Clerk's Office staff. Document filed by Elon Musk. (Attachments: # 1 Text of
                Proposed Order)(Hueston, John) (Entered: 03/07/2019)
03/07/2019       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 25 MOTION for John Charles Hueston to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number ANYSDC−16456937. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (wb) (Entered: 03/07/2019)
03/08/2019   26 ORDER granting 25 Motion for Charles Hueston to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison)
                Transmission to Attorney Services/Help Desk. (Entered: 03/08/2019)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page9 of 15

03/11/2019   27 RESPONSE TO ORDER TO SHOW CAUSE re: 19 Order to Show Cause,,,
                Terminate Motions,,. Document filed by Elon Musk. (Attachments: # 1 Exhibit 1, # 2
                Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                Exhibit 8, # 9 Affidavit Declaration of Elon R. Musk, # 10 Affidavit Declaration of
                Christopher F. Noe)(Hueston, John) (Entered: 03/11/2019)
03/12/2019   28 LETTER MOTION for Leave to File Reply Memorandum addressed to Judge Alison
                J. Nathan from Cheryl Crumpton dated March 12, 2019. Document filed by United
                States Securities and Exchange Commission.(Crumpton, Cheryl) (Entered:
                03/12/2019)
03/12/2019   29 ORDER granting 28 Letter Motion for Leave to File Document. The Government's
                motion for leave to file a reply memorandum is granted. The Government shall file its
                reply memorandum no later than March 19, 2019. No later than March 26, 2019, each
                party shall indicate in writing whether it is seeking an evidentiary hearing on this
                matter. SO ORDERED. (Signed by Judge Alison J. Nathan on 3/12/2019) (kv)
                (Entered: 03/12/2019)
03/18/2019   30 REPLY to Response to Motion re: 18 MOTION for Order to Show Cause Why
                Defendant Elon Musk Should Not Be Held in Contempt and Memorandum of Law in
                Support. . Document filed by United States Securities and Exchange Commission.
                (Attachments: # 1 Exhibit 6, # 2 Exhibit 7, # 3 Exhibit 8, # 4 Exhibit 9, # 5 Exhibit 10,
                # 6 Exhibit 11, # 7 Exhibit 12)(Crumpton, Cheryl) (Entered: 03/18/2019)
03/18/2019   31 LETTER MOTION for Leave to File Sur−Reply Memorandum addressed to Judge
                Alison J. Nathan from John C. Hueston dated March 18, 2019. Document filed by
                Elon Musk.(Hueston, John) (Entered: 03/18/2019)
03/21/2019   32 ORDER granting 31 Letter Motion for Leave to File Document. Defendant may file a
                sur−reply memorandum of no more than 8 pages by March 22, 2019. (Signed by Judge
                Alison J. Nathan on 3/21/2019) (cf) (Entered: 03/21/2019)
03/21/2019       Set/Reset Deadlines: Surreplies due by 3/22/2019. (cf) (Entered: 03/21/2019)
03/22/2019   33 REPLY to Response to Motion re: 18 MOTION for Order to Show Cause Why
                Defendant Elon Musk Should Not Be Held in Contempt and Memorandum of Law in
                Support. Sur−Reply in Response to Order to Show Cause Why Defendant Elon Musk
                Should Not Be Held In Contempt. Document filed by Elon Musk. (Attachments: # 1
                Exhibit 9, # 2 Exhibit 10, # 3 Exhibit 11)(Hueston, John) (Entered: 03/22/2019)
03/25/2019   34 LETTER addressed to Judge Alison J. Nathan from Cheryl Crumpton dated March 25,
                2019 re: the SEC's Position on an Evidentiary Hearing. Document filed by United
                States Securities and Exchange Commission.(Crumpton, Cheryl) (Entered:
                03/25/2019)
03/25/2019   35 LETTER addressed to Judge Alison J. Nathan from John C. Hueston dated March 25,
                2019 re: Evidentiary Hearing. Document filed by Elon Musk.(Hueston, John)
                (Entered: 03/25/2019)
03/26/2019   36 ORDER re: 35 Letter filed by Elon Musk, 34 Letter filed by United States Securities
                and Exchange Commission. Accordingly, the Court will decide Plaintiff's motion
                without an evidentiary hearing. The Court will, however, hold oral argument, which is
                hereby scheduled for April 4, 2019 at 2:00 p.m. SO ORDERED. (Oral Argument set
                for 4/4/2019 at 02:00 PM before Judge Alison J. Nathan.) (Signed by Judge Alison J.
                Nathan on 3/26/2019) (kv) (Entered: 03/26/2019)
04/03/2019   37 MOTION for Steven Buchholz to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Affidavit of Steven Buchholz
                in Support of Motion, # 2 California Certificate of Good Standing, # 3 Text of
                Proposed Order to Appear Pro Hac Vice)(Buchholz, Steven) (Entered: 04/03/2019)
04/03/2019       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 37 MOTION for Steven Buchholz to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (jc) (Entered: 04/03/2019)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page10 of 15

04/04/2019   38 ORDER granting 37 Motion for Steven Buchholz to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison) (Entered:
                04/04/2019)
04/05/2019   39 ORDER: For the reasons stated on the record at oral argument yesterday, the parties
                are required to meet and confer for at least one hour in an effort to resolve the pending
                motion to hold Mr. Musk in contempt, as well as any modifications to the consent
                judgment and Tesla's Senior Executives Communications Policy. No later than April
                18, 2019, the parties shall submit a joint letter indicating whether they have reached an
                agreement. If no agreement has been reached, the Court will issue a decision resolving
                the current SEC motion to hold Mr. Musk in contempt. If Mr. Musk is held in
                contempt, the Court will allow further briefing on sanctions. (Signed by Judge Alison
                J. Nathan on 4/5/2019) (rro) (Entered: 04/05/2019)
04/05/2019       Minute Entry for proceedings held before Judge Alison J. Nathan. Oral argument held
                 on SEC's motion for contempt. The Court reserved decision. (Court Reporter Paula
                 Speer) (qs) (Entered: 04/05/2019)
04/16/2019   40 TRANSCRIPT of Proceedings re: conference held on 4/4/2019 before Judge Alison J.
                Nathan. Court Reporter/Transcriber: Rebecca Forman, (212) 805−0300. Transcript
                may be viewed at the court public terminal or purchased through the Court
                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                that date it may be obtained through PACER. Redaction Request due 5/7/2019.
                Redacted Transcript Deadline set for 5/17/2019. Release of Transcript Restriction set
                for 7/15/2019.(McGuirk, Kelly) (Entered: 04/16/2019)
04/16/2019   41 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                official transcript of a conference proceeding held on 4/4/19 has been filed by the court
                reporter/transcriber in the above−captioned matter. The parties have seven (7) calendar
                days to file with the court a Notice of Intent to Request Redaction of this transcript. If
                no such Notice is filed, the transcript may be made remotely electronically available to
                the public without redaction after 90 calendar days...(McGuirk, Kelly) (Entered:
                04/16/2019)
04/18/2019   42 STATUS REPORT. Regarding Efforts to Resolve the SEC's Pending Motion
                Document filed by United States Securities and Exchange Commission.(Crumpton,
                Cheryl) (Entered: 04/18/2019)
04/18/2019   43 MEMO ENDORSEMENT on re: 42 Status Report filed by United States Securities
                and Exchange Commission. ENDORSEMENT: SO ORDERED. (Signed by Judge
                Alison J. Nathan on 4/18/2019) (kv) (Entered: 04/18/2019)
04/25/2019   44 STATUS REPORT. Regarding Efforts to Resolve the SEC's Pending Motion
                Document filed by United States Securities and Exchange Commission.(Crumpton,
                Cheryl) (Entered: 04/25/2019)
04/26/2019   45 MEMO ENDORSEMENT on re: 44 Status Report filed by United States Securities
                and Exchange Commission. ENDORSEMENT: SO ORDERED. (Signed by Judge
                Alison J. Nathan on 4/26/2019) (kv) (Entered: 04/26/2019)
04/26/2019   46 CONSENT MOTION to Amend/Correct Final Judgment. Document filed by United
                States Securities and Exchange Commission. (Attachments: # 1 Exhibit 1 (Consent of
                Defendant Elon Musk), # 2 Exhibit 2 (Proposed Order Amending Final
                Judgment))(Crumpton, Cheryl) (Entered: 04/26/2019)
04/30/2019   47 ORDER AMENDING FINAL JUDGMENT AS TO DEFENDANT ELON MUSK IT
                IS HEREBY ORDERED, ADJUDGED, AND DECREED that subpart (b) of
                paragraph IV of the Final Judgment is replaced and superseded by the following
                herein, IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all other
                provisions of the Final Judgment shall remain in effect. IT IS FURTHER ORDERED,
                ADJUDGED, AND DECREED that this Court shall retain jurisdiction of this matter
                for the purposes of enforcing the terms of the Final Judgment, as amended by this
                Order. (And as further set forth in this Order). (Signed by Judge Alison J. Nathan on
                4/30/2019) (jca) (Entered: 04/30/2019)
05/01/2019   48 ORDER re: 47 Amended Judgment. In the consent motion to amend the Final
                Judgment, the parties stated that "if the Court grants this motion and enters the
                proposed Order, this will resolve the Commission's pending motion." Dkt. No. 46 at 4.
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page11 of 15

                 The Court has now granted the motion and entered the proposed Order amending the
                 Final Judgment. Dkt. No. 47. Accordingly, the SEC's contempt motion, Dkt. No. 18, is
                 denied as moot. SO ORDERED. (Signed by Judge Alison J. Nathan on 5/1/2019) (kv)
                 (Entered: 05/01/2019)
10/03/2019   49 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Adriene
                Mixon to Appear Pro Hac Vice . Motion and supporting papers to be reviewed by
                Clerk's Office staff. Document filed by United States Securities and Exchange
                Commission. (Attachments: # 1 Affidavit, # 2 Exhibit Certificate of Standing CA, # 3
                Exhibit Certificate of Standing NY, # 4 Text of Proposed Order)(Mixon, Adriene)
                Modified on 10/3/2019 (wb). (Entered: 10/03/2019)
10/03/2019       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                 VICE. Notice to RE−FILE Document No. 49 MOTION for Adriene Mixon to
                 Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's
                 Office staff... The filing is deficient for the following reason(s): missing Certificate
                 of Good Standing from Supreme Court of California;. Re−file the motion as a
                 Motion to Appear Pro Hac Vice − attach the correct signed PDF − select the
                 correct named filer/filers − attach valid Certificates of Good Standing issued
                 within the past 30 days − attach Proposed Order.. (wb) (Entered: 10/03/2019)
12/16/2019   50 MOTION for Adriene Mixon to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Affidavit, # 2 Exhibit
                Certificate of Standing NY, # 3 Exhibit Certificate of Standing CA, # 4 Text of
                Proposed Order)(Mixon, Adriene) (Entered: 12/16/2019)
12/17/2019       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 50 MOTION for Adriene Mixon to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (wb) (Entered: 12/17/2019)
12/18/2019   51 ORDER granting 50 Motion for Adriene Mixon to Appear Pro Hac Vice (HEREBY
                ORDERED by Judge Alison J. Nathan)(Text Only Order) (Nathan, Alison)
                Transmission to Attorney Services/Help Desk. (Entered: 12/18/2019)
02/24/2020   52 MOTION Motion to Establish A Fair Fund and Appoint Tax Administrator .
                Document filed by United States Securities and Exchange Commission. (Attachments:
                # 1 Text of Proposed Order).(Mixon, Adriene) (Entered: 02/24/2020)
02/26/2020   53 ORDER ESTABLISHING A FAIR FUND, APPOINTING A TAX
                ADMINISTRATOR, AND AUTHORIZING PAYMENT OF TAX RELATED FEES,
                EXPENSES, AND OBLIGATIONS granting 52 Motion for to Establish A Fair Fund
                and Appoint Tax Administrator. IT IS HEREBY ORDERED: 1. The Motion is
                GRANTED. 2. A Fair Fund is hereby established pursuant to Section 308(a) of the
                Sarbanes−Oxley Act of 2002, as amended by the Dodd−Frank Act of 2010 [15 U.S.C.
                §7246(a)] for the $40,000,000.00 paid by Musk and Telsa, along with any accrued
                interest and earnings thereon (the "Fair Fund"). 3. Miller Kaplan Arase LLP ("Miller
                Kaplan") is appointed as the Tax Administrator to execute all income tax reporting
                requirements, including the preparation and filing of tax returns, for all funds under the
                Court's jurisdiction in this case. (as further set forth herein). 7. The SEC is authorized
                to approve and arrange payment of all future tax obligations owed by the Fair Fund
                and tax administrator fees and expenses owed by the Fair Fund directly from the Fair
                Fund without further order of this Court. All payments for taxes and the fees and
                expenses of the Tax Administrator shall be reported to the Court in a final accounting.
                (Signed by Judge Alison J. Nathan on 2/26/2020) (kv) Transmission to Finance Unit
                (Cashiers) for processing. (Entered: 02/26/2020)
04/30/2021   54 MOTION Motion to Appoint Distribution Agent . Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Text of Proposed
                Order).(Mixon, Adriene) (Entered: 04/30/2021)
05/12/2021   55 ORDER APPOINTING A DISTRIBUTION AGENT AND AUTHORIZING
                PAYMENT OF ADMINISTRATIVE FEES AND EXPENSES granting 54 Motion for
                Appoint Distribution Agent. re: 54 MOTION Motion to Appoint Distribution Agent .
                IT IS HEREBY ORDERED that: 1. The Motion is GRANTED; 2. Rust is appointed to
                serve as Distribution Agent (the "Distribution Agent") for the Fair Fund to assist in
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page12 of 15

                 overseeing the administration and the distribution of the Fair Fund in coordination
                 with the Commission staff, pursuant to the distribution plan (the "Plan") to be
                 approved by this Court; 3. Rust shall perform services in accordance with the pricing
                 schedule and cost proposal submitted by the Distribution Agent to the Commission.
                 Such services may include, but are not limited to, developing a Plan, determining the
                 identities of injured investors and the amounts lost, establishing a claims process to
                 evaluate and verify claims, fielding inquiries from investors and managing the ultimate
                 distribution of the Fair Fund; 4.Rust shall coordinate with the Court−appointed Tax
                 Administrator, Miller Kaplan Arase LLP, to ensure that the Fair Fund, a Qualified
                 Settlement Fund ("QSF") under Section 468B(g) of the Internal Revenue Code, and
                 regulated regulations, 26 C.F.R. §§ 1.468B−1 through 5, complies with all related
                 legal and regulatory requirements, including but not limited to, satisfying any reporting
                 or withholding requirements imposed on distribution from the QSF; 5. Rust shall
                 invoice all administrative fees and expenses incurred in the administration and
                 distribution of the Fair Fund to the Commission for review and approval by the
                 Commission. Any unresolved objections to an invoiced amount will be referred to the
                 Court; 6. Within forty− five (45) days of the Court's approval of the Plan, Rust will
                 provide a status report, and thereafter, will provide additional reports and quarterly
                 account statements within thirty (30) days after the end of every quarter. Moreover,
                 once the Fair Fund has been transferred to an escrow account opened by Rust as
                 Distribution Agent, Rust will include with its quarterly reports a quarterly accounting
                 report in a format to be provided by the Commission. The status report and quarterly
                 accounting report will inform the Court and the Commission of the activities and status
                 of the Fair Fund during the relevant period and will specify, at a minimum (a) the
                 location of the account(s) comprising the Fair Fund; and (b) an interim accounting of
                 all monies in the Fair Fund as of the most recent month−end, including the value of the
                 account(s), all monies earned or received into the account(s), funds distributed to
                 harmed investors under the Court approved Plan, and any monies expended from the
                 Fair Fund, including fees, expenses, and taxes incurred by, or imposed on, the Fair
                 Fund; 7. Upon completing its duties as Distribution Agent, Rust, working with the
                 Court−appointed Tax Administrator, Miller Kaplan Arase LLP, will prepare a final
                 report and final accounting for filing with the Court, in a format to be provided by the
                 Commission; 8. Rust may be removed sua sponte at any time by the Court or upon
                 motion of the Commission and replaced with a successor. In the event Rust decides to
                 resign, it will first give written notice to the Court and to Commission staff of such
                 intention, and the resignation, if permitted, will not be effective until the Court
                 appoints a successor; 9. The Distribution Agent will be entitled to charge reasonable
                 fees and related expenses incurred in the performance of its duties, in accordance with
                 the cost proposal submitted to the Commission staff. The Commission is authorized to
                 approve and arrange payment of the fees and expenses of the Distribution Agent
                 directly from the Fair Fund without further order of this Court. The Distribution Agent
                 will submit invoices of all fees and expenses incurred in connection with its duties to
                 the Commission staff for review and, as appropriate, payment. All payments will be
                 reflected in the final accounting referenced herein; and 10. The Court will retain
                 exclusive jurisdiction over the distribution, including, but not limited to, claims against
                 the Distribution Agent asserting liability for violation of any duty imposed by the Plan
                 or other Court order. IT IS SO ORDERED. (Signed by Judge Alison J. Nathan on
                 5/12/2021) (kv) (Entered: 05/12/2021)
12/21/2021   56 ORDER: The Court on May 12, 2021, appointed Rust Consulting as distribution agent
                for the Fair Fund. No. 18−cv−8865, Dkt. No. 55. That order required that Rust file
                status reports and quarterly accounting statements within 30 days of the end of each
                quarter. Id. Paragraph 6. The Court has received no such reports. Rust is hereby
                ordered to file a status report and the most recent quarterly accounting statement by
                January 7, 2022. SO ORDERED. (Signed by Judge Alison J. Nathan on 12/21/2021)
                (vfr) (Entered: 12/21/2021)
01/05/2022   57 STATUS REPORT. of Rust Consulting Document filed by United States Securities
                and Exchange Commission..(Mixon, Adriene) (Entered: 01/05/2022)
01/10/2022   58 MEMO ENDORSEMENT on re: 57 Status Report filed by United States Securities
                and Exchange Commission. ENDORSEMENT: SO ORDERED. (Signed by Judge
                Alison J. Nathan on 1/10/2022) (vfr) (Entered: 01/10/2022)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page13 of 15

02/17/2022   59 NOTICE OF APPEARANCE by William Anthony Burck on behalf of Elon
                Musk..(Burck, William) (Entered: 02/17/2022)
02/17/2022   60 NOTICE OF APPEARANCE by Alex Spiro on behalf of Elon Musk..(Spiro, Alex)
                (Entered: 02/17/2022)
02/17/2022   61 LETTER addressed to Judge Alison J. Nathan from Tesla, Inc. and Elon Musk dated
                February 17, 2022 re: SEC Conduct. Document filed by Elon Musk..(Spiro, Alex)
                (Entered: 02/17/2022)
02/17/2022   62 MEMO ENDORSEMENT on re: 61 Letter filed by Elon Musk. ENDORSEMENT:
                The Commission shall file a response to the Defendants' letter by February 24, 2022.
                SO ORDERED. (Signed by Judge Alison J. Nathan on 2/17/2022) (vfr) (Entered:
                02/17/2022)
02/18/2022   63 LETTER addressed to Judge Alison J. Nathan from Steven Buchholz dated
                02/18/2022 re: Docket No. 61. Document filed by United States Securities and
                Exchange Commission..(Buchholz, Steven) (Entered: 02/18/2022)
02/21/2022   64 LETTER addressed to Judge Alison J. Nathan from Tesla, Inc. and Elon Musk dated
                February 21, 2022 re: Reply Re: SEC Conduct. Document filed by Elon Musk..(Spiro,
                Alex) (Entered: 02/21/2022)
02/24/2022   65 ORDER: The Court is in receipt of the Defendants Elon Musk and Tesla, Inc.'s letter
                dated February 17, 2022, as well as the Commission's response dated February 18,
                2022, and the Defendants' further letter dated February 21, 2022. Dkt. Nos. 61, 63, 64.
                The Defendants' precise application to the Court is unclear. They request a conference
                to address "why the SEC has failed to distribute these funds to shareholders but has
                chosen to spend its energy and resources investigating Mr. Musk's and Tesla's
                compliance with the consent decree by issuing subpoenas unilaterally, without Court
                approval." Dkt. No. 61 at 1. The Court DENIES this request for a conference. To the
                extent that the Defendants seek to impose a deadline on the Commission's
                implementation of a Plan of Distribution of the Fair Fund, the Defendants may file a
                motion and submit briefing in support of doing so. Otherwise, the Court cannot
                enforce a deadline that does not currently exist. E.g., Dkt. Nos. 14, 53, 55. Further, to
                the extent that the Defendants have a non−frivolous basis to quash a subpoena in light
                of the Court's prior orders in this case, the Defendants may make a motion, supported
                by briefing, that requests specific relief from the Court. The Defendants also seek
                "on−the−record assurance that the Commission has not leaked investigative details in
                violation of its own rules and policies, and is otherwise acting in accordance with the
                law." Dkt. No. 64 at 2−3. The letter does not contain specific facts or legal authority to
                justify this request. Moreover, the Court doubts that the regulations invoked by the
                Defendants, 17 C.F.R. §§ 203.2, 203.5, are judicially enforceable against the
                Commission, see LaMorte v. Mansfield, 438 F.2d 448, 450−51 (2d Cir. 1971)
                (explaining that the regulations describe only "the discretion possessed by the agency
                in determining whether to disclose information," a privilege that "is the agency's, not
                the witness'[s]"). The request is DENIED. SO ORDERED. (Signed by Judge Alison J.
                Nathan on 2/24/2022) (vfr) (Entered: 02/24/2022)
02/24/2022   66 MOTION for Melissa J. Armstrong to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Affidavit, # 2 Certificate of
                Good Standing, # 3 Text of Proposed Order).(Armstrong, Melissa) (Entered:
                02/24/2022)
02/25/2022       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 66 MOTION for Melissa J. Armstrong to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (bcu) (Entered: 02/25/2022)
02/28/2022   67 ORDER granting 66 Motion for Melissa J. Armstrong to Appear Pro Hac Vice
                (HEREBY ORDERED by Judge Alison J. Nathan)(Text Only Order) (kwi) (Entered:
                02/28/2022)
03/08/2022   68 MOTION to Seal Exhibits to the Memorandum of Law. Document filed by Elon
                Musk..(Spiro, Alex) (Entered: 03/08/2022)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page14 of 15

03/08/2022   69 ***SELECTED PARTIES*** LETTER addressed to Judge Alison J. Nathan from
                Alex Spiro dated March 8, 2022 re: Sealed Exhibits. Document filed by United States
                Securities and Exchange Commission, Elon Musk. (Attachments: # 1 Exhibit A to the
                Memorandum of Law, # 2 Exhibit B to the Memorandum of Law, # 3 Exhibit D to the
                Memorandum of Law)Motion or Order to File Under Seal: 68 .(Spiro, Alex) (Entered:
                03/08/2022)
03/08/2022   70 MOTION to Quash Certain Portions of SEC Subpoena & to Terminate Consent
                Decree . Document filed by Elon Musk..(Spiro, Alex) (Entered: 03/08/2022)
03/08/2022   71 MEMORANDUM OF LAW in Support re: 70 MOTION to Quash Certain Portions of
                SEC Subpoena & to Terminate Consent Decree . . Document filed by Elon Musk.
                (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                E).(Spiro, Alex) (Entered: 03/08/2022)
03/08/2022   72 DECLARATION of Elon Musk in Support re: 70 MOTION to Quash Certain Portions
                of SEC Subpoena & to Terminate Consent Decree .. Document filed by Elon Musk.
                (Attachments: # 1 Exhibit A).(Spiro, Alex) (Entered: 03/08/2022)
03/08/2022   73 PROPOSED ORDER. Document filed by Elon Musk. Related Document Number: 70
                ..(Spiro, Alex) Proposed Order to be reviewed by Clerk's Office staff. (Entered:
                03/08/2022)
03/08/2022   74 LETTER addressed to Judge Alison J. Nathan from Alex Spiro dated March 8, 2022
                re: Request for Oral Argument. Document filed by Elon Musk..(Spiro, Alex) (Entered:
                03/08/2022)
03/08/2022       ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 73
                 Proposed Order was reviewed and approved as to form. (km) (Entered:
                 03/08/2022)
03/08/2022   75 ORDER: The Commission is hereby ORDERED to file a response to Defendant's
                motions by March 22, 2022. Dkt. Nos. 68, 70. Defendant shall file a reply, if any, by
                March 29, 2022. SO ORDERED. ( Responses due by 3/22/2022, Replies due by
                3/29/2022.) (Signed by Judge Alison J. Nathan on 3/8/2022) (vfr) (Entered:
                03/08/2022)
03/08/2022   76 MOTION Motion to Approve Distribution Plan . Document filed by United States
                Securities and Exchange Commission. (Attachments: # 1 Exhibit Distribution Plan, # 2
                Exhibit Plan of Allocation, # 3 Text of Proposed Order).(Mixon, Adriene) (Entered:
                03/08/2022)
03/17/2022   77 ORDER: The Court is in receipt of the Commission's motion to approve the
                distribution plan. Dkt. No. 76. The Defendants shall file a response, if any, by March
                22, 2022. SO ORDERED. (Responses due by 3/22/2022) (Signed by Judge Alison J.
                Nathan on 3/17/2022) (jca) (Entered: 03/17/2022)
03/22/2022   78 RESPONSE in Opposition to Motion re: 70 MOTION to Quash Certain Portions of
                SEC Subpoena & to Terminate Consent Decree . . Document filed by United States
                Securities and Exchange Commission..(Armstrong, Melissa) (Entered: 03/22/2022)
03/25/2022   79 ORDER APPROVING DISTRIBUTION PLAN granting 76 Motion to Approve
                Distribution Plan . IT IS HEREBY ORDERED that: 1. The Motion is GRANTED; and
                2. The Distribution Plan is approved in its entirety. The Distribution Plan shall govern
                the administration and distribution of the Fair Fund previously established by Order
                entered February 26, 2020. IT IS SO ORDERED. (Signed by Judge Alison J. Nathan
                on 3/25/2022) (vfr) (Entered: 03/25/2022)
03/29/2022   80 REPLY to Response to Motion re: 70 MOTION to Quash Certain Portions of SEC
                Subpoena & to Terminate Consent Decree . . Document filed by Elon Musk..(Spiro,
                Alex) (Entered: 03/29/2022)
04/12/2022       NOTICE OF CASE REASSIGNMENT to Judge Ronnie Abrams. Judge Alison J.
                 Nathan is no longer assigned to the case. (laq) (Entered: 04/12/2022)
04/13/2022       NOTICE OF CASE REASSIGNMENT to Judge Lewis J. Liman. Judge Ronnie
                 Abrams is no longer assigned to the case. (aea) (Entered: 04/13/2022)
        Case 22-1291, Document 4-2, 06/15/2022, 3333478, Page15 of 15

04/27/2022   81 OPINION AND ORDER re: 70 MOTION to Quash Certain Portions of SEC
                Subpoena & to Terminate Consent Decree filed by Elon Musk. The motion to quash
                the subpoena and to terminate the consent decree is DENIED. The Clerk of Court is
                respectfully directed to close Dkt. No. 70. SO ORDERED. (Signed by Judge Lewis J.
                Liman on 4/27/2022) (va) (Entered: 04/27/2022)
04/29/2022   82 ORDER granting 68 Motion to Seal. (HEREBY ORDERED by Judge Lewis J.
                Liman)(Text Only Order) (ra) (Entered: 04/29/2022)
05/09/2022   83 STATUS REPORT. Progress Report of Rust Consulting Document filed by United
                States Securities and Exchange Commission..(Mixon, Adriene) (Entered: 05/09/2022)
05/23/2022   84 LETTER addressed to Judge Lewis J. Liman from Alex Spiro dated May 23, 2022 re:
                Unopposed Motion to Amend. Document filed by Elon Musk..(Spiro, Alex) (Entered:
                05/23/2022)
05/25/2022   85 MEMO ENDORSEMENT: on re: 84 Letter filed by Elon Musk. ENDORSEMENT:
                The Court's Opinion was not intended to express a finding that Musk did not preclear
                the communications, and it should not be interpreted as such. That issue is not before
                the Court, and the Court has no views on it. SO ORDERED. (Signed by Judge Lewis
                J. Liman on 5/25/2022) (ama) (Entered: 05/25/2022)
06/15/2022   86 NOTICE OF APPEAL from 81 Memorandum & Opinion,. Document filed by Elon
                Musk. Filing fee $ 505.00, receipt number ANYSDC−26283268. Form C and Form D
                are due within 14 days to the Court of Appeals, Second Circuit..(Spiro, Alex) (Entered:
                06/15/2022)
06/15/2022       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                 Appeals re: 86 Notice of Appeal. (tp) (Entered: 06/15/2022)
06/15/2022       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                 Electronic Files for 86 Notice of Appeal filed by Elon Musk were transmitted to the
                 U.S. Court of Appeals. (tp) (Entered: 06/15/2022)
